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 8                         IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                   No. CR S-98-0431-FCD-CMK
                                                     CIV S-05-0433-FCD-CMK
12                 Respondent,

13          vs.                                  ORDER

14   BENJAMIN AGREDANO-
     MERCADO, JR.,
15
                   Movant.
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                                        /
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18                 Movant, a federal prisoner proceeding pro se, brings this motion to correct or set

19   aside a criminal judgment pursuant to 28 U.S.C. § 2255. The matter was referred to a United

20   States Magistrate Judge pursuant to Local Rule 72-302(c)(21).

21                 On January 26, 2006, the magistrate judge filed findings and recommendations

22   herein which were served on movant and which contained notice to movant that any objections to

23   the findings and recommendations were to be filed within ten days. Movant has not filed

24   objections to the findings and recommendations.

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 1                  Although it appears from the file that movant's copy of the findings and

 2   recommendations was returned, movant was properly served. It is the movant's responsibility to

 3   keep the court apprised of his current address at all times. Pursuant to Local Rule 83-182(d),

 4   service of documents at the record address of the party is fully effective.

 5                  The court has reviewed the file and finds the findings and recommendations to be

 6   supported by the record and by the magistrate judge's analysis.

 7                  Accordingly, IT IS HEREBY ORDERED that:

 8                  1.      The findings and recommendations filed January 26, 2006, are adopted in

 9   full;

10                  2.      Movant’s motion pursuant to 28 U.S.C. § 2255 is denied; and

11                  3.      The Clerk of the Court is directed to close companion civil case no. CIV

12   S-05-0433-FCD-CMK.

13   DATED:March 1, 2006

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15                                                         /s/ Frank C. Damrell Jr.
                                                           FRANK C. DAMRELL JR.
16                                                         United States District Judge

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